Case 3:16-md-02738-MAS-RLS             Document 33263         Filed 09/06/24      Page 1 of 2 PageID:
                                            258217




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  September 6, 2024

  Honorable Michael A. Shipp, U.S.D.J.
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

  Honorable Rukhsanah L. Singh, U.S.M.J.
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608



  Re:       Johnson & Johnson Talcum Powder Products, Marketing, Sales Practices and Products
            Liability Litigation
            Case No.: 3:16-md-02738-MAS-RLS

  Dear Judge Shipp and Judge Singh:

          I write in response to the PSC’s letter of yesterday (Dkt. No. 33260), in which the PSC
  purports to select not one, but two cases (Judkins and Rausa) to be consolidated for the first
  bellwether trial in this MDL. Frankly, Defendants are puzzled at this selection; Judge Wolfson
  was very clear that the bellwethers in this MDL “are going to be single-plaintiff cases. So let’s put
  aside that idea [of multi-plaintiff trials].” Jan. 26, 2021 Status Conference Tr. at 13:18-21. Judge
  Wolfson’s case management orders for the Stage Three cases (e.g., Dkt. No. 24511) likewise
  contemplated Plaintiffs selecting “the case” – not “the cases” – they propose for trial.

          Despite that history, the PSC attempted to sidestep Judge Wolfson’s decision in its August
  11, 2023 letter to the Court (Dkt. No. 26622) and requested multi-plaintiff trials. Defendants’
  response to that letter (Dkt. No. 26662) reminded the Court of Judge Wolfson’s decision. The
  topic did not come up at the September 6, 2023 Status Conference, nor has the Court entertained
  argument on the subject since. To the extent that any case management orders have discussed
  the possibility of consolidated trials, they represent drift rather than a reasoned change of course
  following briefing and argument.

           Judge Wolfson granted the PSC the right to choose the first case for trial subject to the
  limitation that the PSC could choose only one case for that first trial. The PSC does not have,
  and never has had, the unchecked right to opt for a consolidated trial; indeed, Judge Wolfson
  already rejected the PSC’s request for one. The fact that the PSC felt the need to support its
  September 5, 2024 trial selections in a six-page letter with citations to authority, and not simply
  with a citation to the governing case management order, speaks volumes. The PSC is not
Case 3:16-md-02738-MAS-RLS             Document 33263         Filed 09/06/24      Page 2 of 2 PageID:
                                            258218



  Hon. Michael A. Shipp, U.S.D.J.                 -2-                             September 6, 2024
  and Hon. Rukhsanah L. Singh,
  U.S.M.J.

  exercising a right that it has – it is asking the Court to ignore the limitation Judge Wolfson placed
  on the right the PSC attempts to exercise.

            Defendants request that the Court instruct the PSC to go back and pick one case for the
  first trial. Alternatively, if the Court is going to consider possibly departing from Judge Wolfson’s
  decision, we request until September 16, 2024, to brief the impropriety of multi-plaintiff trials.

         Thank you for your consideration of these matters.

  Respectfully submitted,




  Susan M. Sharko
  FAEGRE DRINKER BIDDLE & REATH LLP


  SMS/emf

  cc:    Leigh O’Dell and Michelle Parfitt (via email)
         All Counsel (via ECF)
